Case 2:21-cv-01097-DSF-JC Document 14 Filed 05/03/21 Page 1 of 3 Page ID #:157



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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
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 11   RUSTY RENDON, an individual,                 Case No. 2:21-cv-01097 DSF (JCx)
 12              Plaintiff,                        ORDER FOR DISMISSAL OF
                                                   ENTIRE ACTION WITH
 13        v.                                      PREJUDICE PURSUANT TO F.R.C.P.
                                                   RULE 41(a)(1)(A)(ii)
 14 VENETIAN CASINO RESORT, LLC,
    a Nevada limited liability company; and        [Concurrently filed with Joint Stipulation
 15 DOES 1-10, inclusive,                          for Dismissal of Entire Action With
                                                   Prejudice Pursuant to F.R.C.P. RULE
 16                                                41(a)(1)(A)(ii)]
                 Defendants.
 17                                                Complaint Filed: January 4, 2021
                                                   Trial Date:       None
 18                                                District Judge: Hon. Dale S. Fischer
                                                                     Courtroom 7D, First St.
 19                                                Magistrate Judge: Hon. Jacqueline
                                                                     Chooljian
 20                                                                  Courtroom 750, Roybal
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                                                                    Case No. 2:21-cv-01097 DSF (JCx)
                      ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                              PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(ii)
Case 2:21-cv-01097-DSF-JC Document 14 Filed 05/03/21 Page 2 of 3 Page ID #:158



  1         Pursuant to the parties’ Joint Stipulation for Dismissal of Entire Action with
  2   Prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
  3   IT IS HEREBY ORDERED:
  4         1.     The above-entitled action is dismissed in its entirety with prejudice.
  5         2.     This Court shall retain jurisdiction over the parties and the action until
  6   October 19, 2022, for the sole purpose of enforcement of the parties’ obligations
  7   under Section 2(C) of the parties’ Confidential Settlement Agreement and Release of
  8   Claims, which reads as follows:
  9         Within eighteen (18) months of the Effective Date (“the Remediation
            Period”), Defendant and its affiliates shall use good faith efforts to
 10         cause those portions of the Websites that are covered by Title III of the
            ADA to be in a condition or state that allows individuals with
 11         disabilities within the meaning of the ADA to gain the same information
            with an ease of use substantially equivalent to that of a non-disabled
 12         person using the Websites (“ADA Compliant”). The Parties agree that
            being in substantial conformance with WCAG 2.0 Level AA or WCAG
 13         2.1 shall constitute “ADA Compliant,” but that substantial conformance
            with WCAG 2.0, Level AA or WCAG 2.1 is neither the test for ADA
 14         Compliance nor the sole method of achieving ADA Compliance. The
            Parties further agree that, notwithstanding anything contained in this
 15         provision or in this Agreement, the Websites shall be permitted to link
            to websites owned or operated by others containing Third-Party Content
 16         (as defined below) that may not be accessible to individuals with
            disabilities. (The term “Third-Party Content” refers to web content that
 17         is not developed, owned, or operated by Defendant or its affiliates.)
            The Parties further agree that ADA Compliant shall include substantial
 18         conformance with any standard later established or recognized by the
            United States Supreme Court, any U.S. Circuit Court of Appeals or the
 19         U.S. Department of Justice. However, if a judicial, legislative or
            regulatory body enacts any legislation or rule, or if the United States
 20         Supreme Court or the U.S. Circuit Court of Appeals for the Ninth
            Circuit renders a decision, pursuant to which any or all of the Websites
 21         is not considered a place of public accommodation or business
            establishment under the Disability Laws, it is understood that Defendant
 22         and its affiliates will be relieved of the obligations set forth in Sections
            2(B) and (C). If Defendant or any of its affiliates contends its ability to
 23         meet the deadline for compliance with Sections 2(B) and (C) is delayed
            by third-party vendors, acts of God, force majeure or other reasons that
 24         are outside of the control of Defendant or its affiliates, including
            circumstances related to the current COVID-19 crisis or similar crises
 25         that may arise, then the Parties or their respective counsel shall meet
            and confer to discuss an extension to the Remediation Period. If
 26         meeting the standard for compliance within this Section 2(B) would
            constitute an undue burden or would result in a fundamental alteration
 27         of any of the Websites, then the Parties or their respective counsel shall
            meet and confer to discuss a solution. If the Parties cannot reach an
 28         agreement regarding a solution after such meet-and-confer efforts,
                                                   1                Case No. 2:21-cv-01097 DSF (JCx)
                        ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                                PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(ii)
Case 2:21-cv-01097-DSF-JC Document 14 Filed 05/03/21 Page 3 of 3 Page ID #:159



  1       either Party will have the right to seek judicial relief. Notwithstanding
          the foregoing, nothing in this provision or in this Agreement shall
  2       require or be construed to require Defendant or any of its affiliates to
          continue operating any of the Websites, which they may determine in
  3       their sole discretion.
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  5       3.    Each party shall bear his or its own fees, costs, and attorneys’ expenses.
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  7       IT IS SO ORDERED.
  8   DATED: May 3, 2021

  9                                          Honorable Dale S. Fischer
                                             UNITED STATES DISTRICT JUDGE
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                                              2                   Case No. 2:21-cv-01097 DSF (JCx)
                     ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                             PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(ii)
